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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA

DEMOCRATIC EXECUTIVE
COMMITTEE OF FLORIDA, and BILL
NELSON FOR U.S. SENATE,
                                                Case No. 4:18-cv-520-MW
     Plaintiffs,
      v.
KEN DETZNER, in his official capacity as
the Florida Secretary of State,
     Defendants.


  EMERGENCY MOTION REQUESTING ORDER FOR SECRETARY TO
ISSUE LIST OF BALLOTS ELIMINATED FOR SIGNATURE MISMATCH

      This Court’s recent order at ECF. No. 46 requires that, after Plaintiffs post a

$500 bond, which has been done, Defendant Detzner is “to issue a directive to the

supervisors of elections” advising them that “they are required to allow voters who

have been belatedly notified they have submitted a mismatched-signature ballot to

cure their ballots by November 17, 2018, at 5:00 p.m.” Id. at 33. However, not all

voters whose ballots were determined to contain a mismatched signature may have

been notified of that determination yet. Accordingly, Plaintiffs request that this

Court order the Secretary of State to immediately produce, both to Plaintiffs and

publicly, a list of all voters whose ballots were determined to contain a mismatched

signature and have not yet been cured, and/or that the Secretary of State require


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that supervisors of elections produce such lists, both to Plaintiffs and publicly, for

their respective counties by 1 p.m. on November 15, 2018. Time is of the essence.



Dated: November 15, 2018                  Respectfully submitted,



                                                 /s/ Ronald Meyer
                                       RONALD G. MEYER
                                       Florida Bar No. 0148248
                                       Email: rmeyer@meyerbrookslaw.com
                                       JENNIFER S. BLOHM
                                       Florida Bar No. 0106290
                                       Email: jblohm@meyerbrookslaw.com
                                       Meyer, Brooks, Demma and Blohm, P.A.
                                       131 North Gadsden Street
                                       Post Office Box 1547
                                       Tallahassee, FL 32302-1547
                                       (850) 878-5212

                                       Marc E. Elias
                                       Email: MElias@perkinscoie.com
                                       Uzoma N. Nkwonta
                                       Email: UNkwonta@perkinscoie.com
                                       PERKINS COIE LLP
                                       700 Thirteenth Street, N.W., Suite 600
                                       Washington, D.C. 20005-3960
                                       Telephone: (202) 654-6200
                                       Facsimile: (202) 654-6211

                                       Counsel for Plaintiffs




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                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of November, 2018, I

electronically filed the foregoing with the Clerk of the Court using the CM/ECF

system. I further certify that I mailed the foregoing documents and the notice of

electronic filing by first-class mail to the following non-CM/ECF participants:

None

                                            /s/
                                      RONALD G. MEYER




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